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                      UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION
______________________________________________________________________________

C.H., by and through his Parents and
Next Friends, M.T. and J.H.,
                                                             Case No. 1:21-cv-04980
       Plaintiffs,
                                                             Honorable _______________
v.

OSWEGO COMMUNITY UNIT SCHOOL DISTRICT 308;
NEXUS-INDIAN OAKS FAMILY HEALING; AND
ILLINOIS STATE BOARD OF EDUCATION,

      Defendants.
______________________________________________________________________________

                                         COMPLAINT

                                   I.     INTRODUCTION

       1.      Plaintiff C.H. (the Student), a minor, by and through his Parents and Next Friends,

M.T. and J.H. (the Parents), brings this civil action against Defendants Oswego Community Unit

School District 308 (the District), Nexus-Indian Oaks Family Healing (Nexus), and the Illinois

State Board of Education (ISBE) (collectively, Defendants) in order to protect his rights pursuant

to the Individuals with Disabilities Education Act (IDEA), 20 U.S.C. §§ 1400 et seq. Plaintiffs

contend that Defendants are currently violating the Student’s right to a free appropriate public

education (FAPE) as mandated by the IDEA by planning to discharge him from his current

placement without any alternative placement option available to meet his significant needs.

                            II.    JURISDICTION AND VENUE

       2.      Jurisdiction is conferred upon this Court by 20 U.S.C. §§ 1415(i)(2)(A) and

1415(i)(3)(A), which provide the District Courts of the United States with jurisdiction over any

action brought under the IDEA without regard to the amount in controversy. This Court also has
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jurisdiction over this action pursuant to 28 U.S.C. § 1331, based upon the federal question raised

herein, and 28 U.S.C. § 1343, because this action is brought to vindicate Plaintiffs’ civil rights

under the IDEA. There is a present and actual controversy between the parties to this action. To

the extent required by law, Plaintiffs have exhausted administrative remedies related to the issues

raised herein.

       3.        Venue is appropriate in this Court pursuant to 28 U.S.C. § 1391(b), as Plaintiffs

reside within the Northern District of Illinois and all events and omissions giving rise to this

Complaint occurred in the Northern District of Illinois.

                                         III.   PARTIES

       4.        Plaintiff C.H. was born on October 25, 2005. His permanent residence is with his

parents, M.T. and J.H., within the jurisdictional boundaries of Oswego Community Unit School

District 308. C.H. is a child with disabilities. At all times relevant to this Complaint, C.H. was

eligible to receive special education and related services as a child with a disability under the

IDEA. 34 C.F.R. § 300.8.

       5.        Plaintiffs M.T. and J.H. are the parents and legal guardians of C.H. They reside

within the jurisdictional boundaries of Oswego Community Unit School District 308.

       6.        Defendant Oswego Community Unit School District 308 is a local education

agency (LEA) subject to the provisions of the IDEA and is thus responsible for providing C.H.

with a FAPE and the procedural protections required therein. 20 U.S.C. §§ 1400-1419.

       7.        Defendant Illinois State Board of Education is the state education agency (SEA)

with general supervisory responsibility to ensure that children with disabilities receive a FAPE

under the IDEA, including children placed in private facilities. 34 C.F.R. §§ 300.118; 146; 149.




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          8.    Defendant Nexus-Indian Oaks Family Healing is a private residential treatment

program that is approved by the Illinois State Board of Education to provide special education and

related services to students with disabilities. Nexus operates a school within its facility called Safe

Harbor School.

                                           IV.     FACTS

          9.    C.H. is a 15-year-old young man who has multiple severe disabilities, and a history

of trauma. (See Exhibit A – Parent’s Affidavit Related to All Facts in Complaint).

          10.   On September 21, 2020, C.H. was placed at Nexus as the result of a juvenile court

proceeding against him in which he was placed in the custody of the Illinois Department of

Juvenile Justice (IDJJ). He has remained at Nexus since that time and through the date of this

filing.

          11.   On February 25, 2021, the District created an IEP for C.H. that indicated placement

at Nexus and Safe Harbor School. (See Exhibit B – Pages from 2/25/21 IEP). Upon information

and belief, the District has assumed financial responsibility for the tuition costs of C.H.’s

placement at Nexus and IDJJ has paid for the room and board costs.

          12.   According to IDJJ, the Illinois Juvenile Court Act dictates that C.H. will have

served his statutory sentence and therefore will be released from the agency’s custody on

September 21, 2021. As a result, Nexus has informed the Parents that C.H. will be discharged from

their program on the same day.

          13.   The Parents have worked diligently, in collaboration with the District to attempt to

find an appropriate residential placement for C.H. to transition to from Nexus, but they have been

unsuccessful in finding a program that will accept him at all, let alone by September 21. (See

Exhibit A).




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       14.     The Parents have requested that Nexus maintain C.H.’s placement for an additional

period of time to allow them to find a new placement for him, but Nexus has inappropriately

refused to do so. Nexus has indicated that it will discharge C.H. from its facility on September 21,

2021 at approximately 1:00 p.m.

       15.     Upon information and belief, the District is willing to continue to pay for C.H.’s

placement at Nexus, but Nexus is refusing to maintain the placement. ISBE is also responsible for

ensuring that a child with a disability receives a FAPE under the IDEA, including residential

placement if necessary.

       16.     Plaintiffs filed an Expedited Due Process Hearing Request against Defendants on

September 20, 2021 in order to challenge the inappropriate change of placement of C.H. (See

Exhibit C– Due Process Hearing Request).

       17.     When the Hearing Request was filed, the stay-put provision of the IDEA was

automatically invoked and Defendants were required to maintain C.H.’s placement at Nexus while

the Hearing Request was pending. 20 U.S.C. § 1415(j).

       18.     Defendant ISBE is also in the untenable position of being the administrative body

responsible for coordinating the parties’ Due Process Hearing. In response to Plaintiffs’ filing of

their Due Process Hearing Request, ISBE sent two emails indicating that a Hearing Officer would

not likely be able to address this issue prior to Nexus’s scheduled discharge of C.H. and stating

that ISBE could not take any steps at all to open a case until Defendant District submits notice of

the Hearing Request to ISBE directly. (Exhibit D – 9/20/21 Correspondence with ISBE).

       19.     Plaintiffs have attempted to confirm that Defendant Nexus will follow the

requirements of the IDEA stay-put provision, but Nexus has ignored these requests for

confirmation. (Exhibit E – 9/20/21 Correspondence with Nexus)




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       20.      C.H. is at serious and immediate risk of having no program or placement to meet

his needs, which would result in an absence of educational programming, likely regression of

academic and emotional functioning, and a denial of FAPE, as well as a risk of harm to himself

and others.

       21.      Nexus is the only appropriate placement currently available to meet C.H.’s needs.

If Defendants are not ordered to maintain him in that placement by September 21, 2021 at

approximately 1:00 p.m., the Parents will be forced into an untenable position. They will either

have to receive physical custody of C.H. and bring him home, thus endangering C.H., his siblings,

and possibly other children at school or in the community, or they will have to allow the Illinois

Department of Children and Family Services (DCFS) to take custody of C.H. (Exhibit A). In either

case, irreparable harm will result and C.H.’s right to a FAPE under the IDEA will be violated.

Either result would be a significant change of placement for C.H., in violation of the stay-put

provision of the IDEA. By deferring a decision until the District requests the appointment of an

Impartial Hearing Officer, ISBE has effectively determined this outcome, thus necessitating

immediate action by this Court.

                                      V.     ARGUMENT

       A.       Nexus-Indian Oaks is the Least Restrictive Appropriate Educational
                Placement to Meet C.H.’s Needs and Removal from Nexus-Indian Oaks would
                Result in a Denial of FAPE.

       22.      Nexus is a unique program that specializes in providing individualized treatment

for children who have exhibited sexually problematic behaviors, such as C.H. (Exhibit F – Program

Description).




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         23.   C.H. has made significant progress since he began attending this program.

However, he has not progressed to the point where it would be appropriate to place him in a less

restrictive or different program.

         24.   Further, the only current alternative to maintaining C.H.’s placement at Nexus is

that he will be sent home without any plan for the supervision and support required by his IEP.

Although the Parents and District have worked collaboratively to attempt to find a new residential

placement for C.H., there is no such placement available as of this filing.

         25.   If C.H. is discharged, the Parents would do their best to provide supervision, but it

would be impossible for them to adequately supervise him 24/7 or assure his safe behavior, let

alone replicate the specialized and intensive 24-hour supports and supervision provided by a

residential program like Nexus. Without appropriate supervision in the past, C.H. has ended up in

situations that have put his health and safety and the health and safety of others at risk.

         26.   If C.H. were to be removed from Nexus at this time, it would result in a significantly

less stable situation and likely regression of the progress he has made at Nexus over the past year.

Discharging C.H. from Nexus would remove him from the environment where he has come to feel

safe and made significant progress and effectively eliminate all educational programming.

Therefore, the only way to provide C.H. with a FAPE at this time is to maintain his placement at

Nexus.

         27.   The District, ISBE, and Nexus have an obligation under the IDEA to provide C.H.

with an appropriate educational placement.

         28.   The District has correctly determined that residential placement at Nexus is the

appropriate placement for C.H., as indicated in the February 2021 IEP (Exhibit B). In addition, the




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District has expressed to the Parents that they would be willing to continue paying for placement

at Nexus, if Nexus would agree not to discharge C.H. as currently scheduled.

       29.     While the District has also attempted to fulfill its statutory obligation by searching

for an appropriate alternative placement for C.H. to transition to from Nexus, those efforts have

been unsuccessful.

       30.     The District currently has no appropriate educational placement to offer C.H. upon

his scheduled discharge from Nexus on September 21, 2021.

       31.     As of this filing, Nexus is the only appropriate placement available to meet C.H.’s

needs. As such, Defendants are required to maintain his placement at Nexus in order to provide

him with a FAPE.

       B.      Discharging C.H. from Nexus-Indian Oaks would Violate the Stay-Put
               Provision of the IDEA.

       32.     Stay-put requires that during the pendency of any administrative or judicial

proceeding regarding the provision of FAPE to a child with a disability, “the child shall remain in

the then-current educational placement of the child.” 20 U.S.C. § 1415(j). This stay-put provision

operates as an automatic statutory injunction. Casey K. v. St. Anne Comm. High Sch. Dist. No.

302, 400 F.3d 508, 511 (7th Cir. 2005) (citing Honig v. Doe, 484 U.S. 305, 326-27) (Emphasis

added). As such, it is not necessary for the Parents to satisfy the usual prerequisites for a

preliminary injunction for a statutory injunction to issue in this case.

       33.     An analysis of stay-put simply requires a determination of the student’s last

mutually agreed upon educational placement. Susquenita Sch. Dist. v. Raelee S., 96 F.3d 78 (3d

Cir. 1996). Plaintiffs filed their Due Process Hearing Request prior to the proposed change of

placement taking effect. Therefore, the stay-put provision of the IDEA requires that C.H.’s

placement at Nexus be maintained during the pendency of this dispute. There can be no dispute



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that Nexus is the last mutually agreed upon placement that C.H. attended. The District recorded

this placement in C.H.’s February 2021 IEP (Exhibit B), and he has been attending Nexus up

through and including the date of this filing. His IEP indicates that the District will maintain this

placement until at least February 2022.

       34.     The key in determining if a new or different placement satisfies stay-put is whether

such placement would genuinely alter the student's educational program by eliminating or

fundamentally changing one of its basic elements. D.K. v. District of Columbia, 61 IDELR 292

(D.D.C. 2013).

       35.     Removal from Nexus would be a material and substantial change of placement for

C.H. As described above, Nexus is a unique specialized program designed to address C.H.’s

specific individual needs. In addition, no other program or placement has been identified where

C.H. could be placed.

       36.     Discharging C.H. from Nexus would result in a fundamental alteration of his

current programming as he would not have any placement or program at all. This result would be

a violation of the stay-put requirement of the IDEA.

       37.     Stay-put was “designed to preserve the status quo pending resolution of

administrative and judicial proceedings under the Act." Doe v. Brookline Sch. Comm., 722 F.2d

910, 915 (1st Cir. 1983) (citing Honig v. Doe, 484 U.S. 305, 312 (1988)). See also Bd. of Educ. of

Community High Sch. Dist. No. 218 v. Ill. St. Bd. of Educ., 103 F.3d 545, 548 (7th Cir. 1996); Ms.

S. ex rel. G. v. Vashon Island Sch. Dist., 337 F.3d 1115, 1133 (9th Cir. 2003).

       38.     Forcing C.H. to leave Nexus would be an extreme change and run counter to the

purpose of the stay-put provision. The IDEA requires that C.H.’s placement at Nexus be




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maintained during the pendency of this dispute to preserve the status quo and avoid a denial of

FAPE under the IDEA.

         C.     Nexus-Indian Oaks is Subject to Stay-Put under the IDEA and Illinois Law.


         39.    Although Nexus is private facility, it is an ISBE-approved placement (Exhibit G)

that accepts students funded through ISBE into its program, including C.H.

         40.    Upon information and belief, Nexus has accepted public funds from the District for

the educational costs of C.H.’s placement.

         41.    When a private school is approved by ISBE to provide special education services,

it must agree to follow both federal and Illinois laws regarding the education of students with

disabilities. 23 Ill. Admin. Code § 401.10(a)(5)(A)(iv). Nexus subjected itself to federal and

Illinois law when it applied and became approved by ISBE to provide special education services

to Illinois students.

         42.    In addition, upon information and belief, the District receives federal “flow through

dollars” both as part of its overall state funding for special education and specifically as

reimbursement by ISBE for the costs of private residential placements, like C.H.’s placement at

Nexus.

         43.    Further, Nexus has contractually agreed to provide special education services

through its agreement to provide educational programming to C.H. as funded by the District. As

such, Nexus is also bound by all the FAPE and procedural requirements of the IDEA, including

the stay-put placement provision. Nexus is thus obligated maintain C.H.’s placement in its program

while this hearing is pending.

         44.    Case law has also established that both federal and state law require Nexus to

comply with the stay-put requirement of the IDEA and to maintain C.H.’s placement in their



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program during the pendency of this dispute. See e.g., P.N. v. Greco, 282 F. Supp. 2d 221, 237

(D.N.J. 2003) (“a private school accepting placements of students protected by the IDEA . . . is

subject to IDEA regulations, and it can therefore be held liable under the IDEA for its failure to

comply with IDEA rules in connection with the termination of [a student’s] placement.”).

       45.     The IDEA stay-put requirement also supersedes state regulations regarding private

schools’ ability to terminate a child’s placement. See Agawam Public Schools, 65 IDELR 247

(SEA MA 2015) (Residential placement was the child’s stay-put placement and the private

program could not proceed with a “planned termination” while due process proceedings

continued).

       46.     Therefore, as an ISBE-approved private placement, Nexus is bound by the IDEA

and Illinois law to abide by the stay-put requirement of the IDEA and to maintain C.H.’s placement

during the pendency of this dispute.

                                VI.       REQUESTED RELIEF

       Wherefore, Plaintiffs respectfully request that this Court:

       A.      Find that Defendants’ decision to discharge C.H. from Nexus without an

appropriate alternative placement or program available to meet his needs is a substantial change

of placement, in violation of the IDEA;

       B.      Issue an emergency statutory stay-put injunction, ordering Defendants to maintain

C.H.’s placement at Nexus pending a final disposition of this matter;

       C.      Order Defendants to pay Plaintiffs’ reasonable attorneys’ fees and costs incurred in

bringing this action; and

       D.      Order any other and further relief, both legal and equitable, that this Court may

deem just and proper.




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  Respectfully submitted on this 20th day of September, 2021,

                                              M.T. and J.H. on behalf of their son, C.H.,

                                              By their attorneys,

                                               /s/ Matthew D. Cohen
                                              Matthew D. Cohen

                                               /s/ Bradley J. Dembs
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 20, 2021, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, which sent notification of such filing to all counsel

of record in this matter. I also served the foregoing via email upon:

Illinois State Board of Education

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